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8    Attorneys for Plaintiffs

9
                                 UNITED STATES DISTRICT COURT
10

11                              NORTHERN DISTRICT OF CALIFORNIA

12   DANIEL VALENTI, Individually and On           CASE NO.: 3:21-cv-06118-JD
     Behalf of All Others Similarly Situated,
13                                                 CERTIFICATE OF SERVICE
            Plaintiff,
14

15   vs.

16   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
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            Defendants.
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                                       CERTIFICATE OF SERVICE
           Case 3:21-cv-06118-JD         Document 120-1         Filed 08/07/23      Page 2 of 3



1                                      CERTIFICATE OF SERVICE
2           I, Linda Oxford declare:
3           I am employed in San Francisco County, California. I am over the age of eighteen years
4    and not a party to the within-entitled action. My business address is Erickson Kramer Osborne
5
     LLP, 44 Tehama St., San Francisco, CA 94105.
6
            On August 7, 2023, I served a copy of the following document(s):
7
            LETTER TO THE COURT FROM ATTORNEY JORDAN GOLDSTEIN
      ☒ by transmitting via e-mail the documents to the person(s) at the e-mail
8

9
          addresses set forth below. I did not receive, within a reasonable time
10
          after the transmission, any electronic message or other indication that the
11
         transmission was unsuccessful.
12    ATTORNEYS FOR DEFENDANTS DFNITY USA RESEARCH LLC, DFINITY
      FOUNDATION and DOMINIC WILLIAMS
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      New York, NY 10019
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28


                                         CERTIFICATE OF SERVICE
                                                   1
            Case 3:21-cv-06118-JD        Document 120-1        Filed 08/07/23      Page 3 of 3



      Emily Casey Warren Kapur
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      Quinn Emanuel
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      Redwood Shores, CA 94065
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4
      VIA EMAIL
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      ATTORNEYS FOR PLAINTIFS DANIEL VALENTI and HENRY RODRIGUEZ
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      Jordan Goldstein
7     Selendy Gay Elsberg PLLC
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      New York, NY 10104
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10           bghafarzade@selendygay.com
             ggerber@selendygay.com
11

12    VIA EMAIL

13
            I declare under penalty of perjury under the laws of the United States of America that the
14
     above is true and correct.
15
            Executed on August 7, 2023, at San Francisco, California.
16

17
                                                      Linda Oxford
18

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28


                                        CERTIFICATE OF SERVICE
                                                  2
